 Case 2:12-cr-00001-DJP-MBN    Document 1271     Filed 03/09/16    Page 1 of 16



                     UNITED STATES DISTRICT COURT
                    EASTERN DISTRICT OF LOUISIANA

UNITED STATES OF AMERICA                                   CRIMINAL ACTION

V.                                                         NO. 12-1

THOMAS HANKTON ET AL.                                      SECTION "F"

                              ORDER & REASONS

     Before the Court is Thomas Hanktons’ motion to suppress

evidence   and   identifications.    For   the   following        reasons,   the

motion is DENIED.

                                Background

     On June 19, 2014, a federal grand jury returned a third

superseding indictment charging 13 defendants with 24 counts of

federal crimes. The charges alleged in the indictment have been

listed, summarized, and repeated throughout the procedural history

of this case. This Order and Reasons assumes familiarity. This

motion involves only one defendant, Thomas Hankton.

     Hankton is charged in counts 1, 2, 3, 12, 13, 15, 16, 19, 20,

and 23 of the indictment. The first three counts charge Hankton as

a member of a RICO conspiracy, a drug conspiracy, and a conspiracy

to possess firearms. In counts 12 and 13, he and Walter Porter are

accused of murdering Hasan Williams in aid of the RICO conspiracy.

Counts 15 and 16 charge him, with Telly Hankton and Walter Porter,

for the attempted murder of John Matthews. In count 19, he is

charged with conspiracy to commit misprision of a felony. Count 20


                                     1
    Case 2:12-cr-00001-DJP-MBN       Document 1271    Filed 03/09/16         Page 2 of 16



accuses him of being an accessory after the fact to the murder of

Darnell Stewart. Finally, he is charged in count 23 as a member of

a money laundering conspiracy.

          In   this    motion,    Thomas    Hankton       seeks       to    suppress    an

identification of him made by John Matthews on the ground of

unreliable and suggestive procedures. Hankton also moves the Court

to suppress evidence that was seized from his apartment pursuant

to    a    search     warrant    obtained   as   a   result      of    John    Matthews’

identification.          Finally,    Hankton      moves     to    suppress        certain

evidence obtained from a storage unit because the search exceeded

the scope of the warrant. The Court addresses each of Hankton’s

contentions in turn.

                       I. Identification by John Matthews

          On October 24, 2010, John Matthews was shot at least seventeen

times while inside of his home; he managed to survive. Mr. Matthews

was taken to the hospital in critical condition. Desmond Pratt, a

former New Orleans Police detective, was assigned to the case. 1

Pratt      submitted     a   near   30-page      police    report          detailing   his

investigation of the shooting. The investigation led to the arrest

of Thomas Hankton.

          According to Pratt’s police report, in the weeks following

the shooting, Pratt interviewed multiple witnesses in attempts to


1 Pratt is no longer a detective for the NOPD. Rather, he is
incarcerated for carnal knowledge and sexual battery.
                                            2
 Case 2:12-cr-00001-DJP-MBN   Document 1271   Filed 03/09/16    Page 3 of 16



develop a suspect for the shooting. Allegedly, several of those

witnesses told Pratt that Matthews had been approached by Hankton

family members who tried to bribe Matthews so he would not testify

against Telly Hankton, Thomas Hankton’s cousin, in a pending state

court murder trial. (John Matthews was a witness to the Darnell

Stewart homicide, which occurred outside of Matthews’ daiquiri

shop, and he was cooperating with investigators to identify Telly

Hankton as the murderer).

     Pratt also visited Matthews in the intensive care unit many

times.   According   to   Pratt’s   report,   Matthews         was   able   to

“consistently describe[] the shooter who perpetrated the crime to

be a light skin complexioned male, well dressed with a groomed

mustache and presentably similar to the older father Hankton, which

he knew from the community years back.”           Pratt claims that he

learned through several sources, including an FBI informant, that

John Matthews’ shooter was Telly’s cousin, “Tom,” or “T.” Pratt

developed Thomas Hankton as a suspect.

     On November 19, 2010, roughly a month after the shooting,

Pratt and assistant district attorney Seth Shute went to the Trauma

Center to interview Mr. Matthews. Matthews’ medical condition was

still severe, and he was heavily medicated. According to Pratt’s

report, Matthews recalled that, on the night of the shooting, he

was returning home from his daiquiri shop when he noticed an SUV

that was following him. When he arrived at his house, he rushed

                                    3
    Case 2:12-cr-00001-DJP-MBN   Document 1271   Filed 03/09/16   Page 4 of 16



inside and closed the door behind him. He then heard a “big boom”

followed by several gunshots. Matthews observed a man near the

opened front door who yelled profanity at him. Matthews managed to

return fire. The shooter then fled. Mr. Matthews unequivocally

confirmed this account in his impressive and forthright testimony

at the suppression hearing.

       Pratt reported that Matthews gave the following description

of the shooter at the November 2010 interview:

       He was a nice looking young man about 27-33 years of
       age, well-built and well-dressed, well-manicured. He was
       light complexion with no facial hairs and well-trimmed,
       about six feet tall, 190lbs in weight. The perpetrator
       was clad in a beige colored club style suit.

Pratt then showed Matthews an array of six photographs, including

a photograph of Thomas Hankton. Pratt’s report indicates that

Matthews pointed at two photos in the array and stated that both

depicted men who resembled the shooter. 2 One of the photos was of

Thomas Hankton. According to his report, Pratt ended the interview

when he noticed that Matthews was “nodding in and out” due to pain

medication. However, Seth Shute contradicted this statement at the

hearing. According to Mr. Shute, Shute himself ended the interview

when Pratt began to ask a potentially suggestive question. Shute

testified     that   he   stopped   Pratt   before   Pratt   could    ask   the

question. Shute also testified that Mr. Matthews was unable to




2   At the hearing, Mr. Matthews recalled selecting only one photo.
                                      4
    Case 2:12-cr-00001-DJP-MBN   Document 1271   Filed 03/09/16     Page 5 of 16



make a positive identification at the time, but that Matthews

narrowed the six photos down to two.

       Some   two   months   later,   on    January   28,   2010,    Pratt    and

Detective Jefferey Vappie, met again with John Matthews at a

Starbucks in Gonzales, Louisiana. Pratt showed Matthews another

array of six photographs, including, (as Pratt claimed in his

report) a more current photo of Thomas Hankton. Pratt states in

his report that he instructed Mr. Matthews to look at each photo

carefully while “keeping a vivid image of the black male subject,

with the well-groomed and neat appearance.” 3 Matthews identified

the photograph of Hankton as the shooter.

        At the suppression hearing, Mr. Matthews recalled the second

identification      procedure    at   the    Starbucks      in    Gonzales.    He

testified that his health had improved substantially from the

November 2010 interview, and that he was no longer taking most of

his medications. He remembered that the photographs from that array

were in black and white. He testified that he requested to see the

photos in color, but his request was unfulfilled. 4 Mr. Matthews

testified adamantly that he picked out Thomas Hankton but wanted

to make sure that he identified the correct person. He also

repeated that he remembers vividly the man who was standing in his


3 Mr. Matthews testified that he did not remember Pratt giving him
this instruction. Neither did Detective Vappie.
4 Detective Vappie testified at the hearing that he did not recall

Mr. Matthews requesting color photos.
                                      5
 Case 2:12-cr-00001-DJP-MBN      Document 1271        Filed 03/09/16    Page 6 of 16



doorway on the night of the shooting. Mr. Matthews testified

unequivocally that Pratt made no suggestion in any way as to which

photo Matthews should select. Mr. Matthews stated that it was

solely his decision to select Thomas Hankton’s photo from the

black-and-white photo lineup. Having observed Mr. Matthews, the

Court finds his testimony credible.

                                       A.

     “The Due Process Clause protects against the use of evidence

obtained from impermissibly suggestive identification procedures.”

United States v. Guidry, 406 F.3d 314, 319 (5th Cir. 2005). The

Fifth Circuit instructs that the admissibility of identification

evidence is governed by a two-step test: “First, we determine

whether        the    identification    procedure          was      impermissively

suggestive, and second, we ask whether the procedure posed a ‘very

substantial likelihood of irreparable misidentification.’” Id.

(quoting United States v. Rogers, 126 F.3d 655, 658 (5th Cir.

1997). “Only when the trial court finds that the photographic

spread    was    impermissibly   suggestive      is    there     any    need   for     a

determination of whether there was a very substantial likelihood

of irreparable misidentification from the proffered witness at

trial.” United States v. Kimbrough, 481 F.2d 421, 425 (5th Cir.

1973).    If    the   identification   procedure        was   not      impermissibly

suggestive, the inquiry ends. See United States v. Honer, 225 F.3d

549, 553 (5th Cir. 2000).

                                       6
 Case 2:12-cr-00001-DJP-MBN         Document 1271           Filed 03/09/16    Page 7 of 16



       If the procedure was impermissibly suggestive, the Court must

determine “whether based on the totality of the circumstances, the

[procedure] posed a very substantial likelihood of irreparable

misidentification.” Id. The Court must consider five factors to

determine the likelihood of irreparable misidentification: 1) the

witness’s opportunity to view the perpetrator at the time of the

crime; 2) the witness’s degree of attention; 3) the accuracy of

the    witness’s    prior    description;          4)    the     level       of   certainty

demonstrated when making the identification; and 5) the time

between the crime and the identification. Neil v. Biggers, 409

U.S. 188, 199-200 (1972).

       “It is well established that the burdens of production and

persuasion      generally    rest     upon      the     movant       in   a   suppression

hearing.” United States v. De la Fuente, 548 F.2d 528, 533 (5th

Cir.   1977).     However,   the    burden        of    persuasion        shifts    to   the

government: 1) to justify a warrantless arrest; 2) to prove the

defendant    voluntarily         waived        his      privilege         against    self-

incrimination; and 3) to prove that evidence was not tainted by an

illegal wiretap. Id. Here, the burden of persuasion rests on the

defendant.

       Finally,    the   Court     bears     in      mind     that    the     Constitution

“protects a defendant against a conviction based on evidence of

questionable      reliability,      not    by     prohibiting         introduction       of

evidence, but by affording the defendant means to persuade the

                                           7
 Case 2:12-cr-00001-DJP-MBN    Document 1271      Filed 03/09/16   Page 8 of 16



jury that the evidence should be discounted as unworthy of credit.”

Perry v. New Hampshire, 132 S.Ct. 716, 723 (2012). “Constitutional

safeguards available to defendants to counter the State’s evidence

include the Sixth Amendment rights to counsel, compulsory process,

and   confrontation    plus   cross-examination         of   witnesses.”     Id.

(internal citations omitted).

                                    B.

      Although Thomas Hankton was the primary suspect in the NOPD

investigation   of    the   attempted    murder    of   John   Matthews,     the

government has not indicted Hankton as the alleged shooter. Rather,

the government charges Walter Porter as the shooter. According to

the government’s theory, Thomas Hankton paid Walter Porter to

commit the shooting at the behest of Telly Hankton.

      Further, of concern here are serious allegations that Desmond

Pratt, now a convicted felon, fabricated evidence and engaged in

witness tampering. In a letter distributed to the defendants, the

Assistant United States Attorney informed defense counsel that

multiple alleged witnesses to the Jesse Reed homicide, when pressed

by FBI agents and the prosecutor, admitted that they were coerced

by Pratt to identify a particular person that Pratt pointed out.

One “witness” admitted that “he was never on the scene of the Jesse

Reed murder and was not a witness to it and that the entire story

he told was provided to him by Detective Pratt.” This, claims



                                    8
 Case 2:12-cr-00001-DJP-MBN       Document 1271     Filed 03/09/16     Page 9 of 16



Thomas Hankton, equates with proof that Pratt somehow coerced

Matthews.

                                         C.

     The defendant bears the burden of proof to show that an

identification       procedure    was    impermissibly      suggestive.         Here,

Hankton     relies     solely     on    an     inference    of       impermissible

suggestiveness due to allegations of Pratt’s misconduct in a

different investigation. Direct testimony from Mr. Matthews, an

uninterested     and     credible       witness,    however,         betrays     that

inference. Mr. Matthews recalled clearly the second identification

procedure at the Starbucks in Gonzales. He testified candidly that

he was not influenced by Pratt in selecting Thomas Hankton’s photo.

Detective    Vappie,     who     was    also   present     during      the     second

identification procedure, corroborated Mr. Matthews’ testimony.

Detective Vappie testified that Pratt did not make any suggestion

as to whom Mr. Matthews should select. Vappie agreed that Mr.

Matthews identified Thomas Hankton on his own, without any outside

influence.

     Pratt was also called at the hearing. He invoked his Fifth

Amendment right against self-incrimination, refusing to answer

even basic questions. Defense counsel argued that Pratt had waived

his Fifth Amendment right by testifying in state court on similar

topics and making statements regarding his conduct to federal

government officials. Regarding the claim of Pratt’s waiver of his

                                         9
 Case 2:12-cr-00001-DJP-MBN        Document 1271    Filed 03/09/16   Page 10 of 16



right against self-incrimination, the Court is fully aware of

Pratt’s so-called 30-page written statement and the FBI material

counsel     rely   upon.    This    Court    has    the    obligation     to     make

credibility    decisions     about     who   testified     and   who    made     what

statements. The Court assumes that Pratt indeed made the statements

counsel point to.

     The Court also observed the testimony and demeanor of John

Matthews. Desmond Pratt is a convicted felon. A criminal cop. Pratt

is unworthy of belief. Mr. Matthews, on the other hand, was direct

and unshakeable in his testimony about how and why and whom he

identified,    Thomas      Hankton.     Although    a     shooting     victim,    he

testified without venom, without any desire for revenge. Without

argument or anger or resistance under cross examination. The Court

was impressed by his openness and clarity. Defense counsel make

something out of nothing. Mr. Matthews was clear and precise and

honest. Defendant’s waiver argument is rejected.

     John Matthews’ direct testimony trumps any inferences of

Pratt’s misconduct relied upon by the defendant. Hankton has failed

to   meet    his   burden    of     proof.    The    Court    finds     that     the

identification procedure was not impermissibly suggestive. Thus,

the constitutional inquiry ends. See United States v. Honer, 225

F.3d 549, 553 (5th Cir. 2000). Thomas Hankton’s motion to suppress

the identification made by John Matthews is denied.

                    II. The Resulting Search Warrant

                                        10
    Case 2:12-cr-00001-DJP-MBN      Document 1271      Filed 03/09/16   Page 11 of 16



        After Mr. Matthews identified Thomas Hankton as the shooter

in    the    second    photo   array,      Pratt    contacted    Hankton’s     parole

officer, Che Troquille. 5 Troquille gave Hankton’s address and other

information to Pratt. Based on Mr. Matthews’ identification, Pratt

obtained an arrest warrant for Hankton on charges of attempted

first degree murder. Two units were dispatched to arrest Hankton:

one    unit    went    to   Hankton’s      apartment    and   the   other    went   to

Hankton’s place of business. Pratt and Troquille accompanied the

unit that went to Hankton’s apartment. No one was in the apartment

when the officers arrived.

        While Troquille and Detective Jeffrey Vappie secured the

apartment, Pratt obtained a search warrant. Pratt returned with

the warrant and executed a search of Hankton’s apartment. During

the search, Troquille found a Taurus model PT 140, 40 caliber

handgun wrapped in a towel near the washing machine. The officers

confiscated $3,900 that was hidden inside a pillow, two cellular

phones, an identification, a laptop computer, a pair of boots, a

money       counting   machine, 6    and    other    miscellaneous       papers     and

documents. Meanwhile, the unit that was dispatched to Hankton’s

place of business found Hankton there and arrested him.


5 Hankton pled guilty to state charges for possession of cocaine
in 2000. He was sentenced to 20 years imprisonment, but he was
released on parole in 2008 by the state authorities.
6 The government concedes that the money counting machine was found

in Hankton’s detached garage unit. Whether officers impermissibly
searched Hankton’s garage unit is addressed in Part III below.
                                            11
 Case 2:12-cr-00001-DJP-MBN       Document 1271        Filed 03/09/16     Page 12 of 16



                                         A.

       Hankton      contends    that   because      the    search       warrants   were

obtained as a result of an impermissibly suggestive identification

procedure, the warrants were invalid and the evidence obtained

from the searches should be suppressed. Because the Court finds

that    the      identification        procedure       was    not       impermissibly

suggestive,      Hankton’s      contentions      are      baseless.       Accordingly,

Hankton’s motion to suppress the evidence obtained by the search

of his apartment is denied.

                          III. Hankton’s Parolee Status

       Desmond Pratt’s handwritten field notes from his search of

Hankton’s property indicate that the money counting machine seized

during the search was found in a detached garage unit. Hankton

points out that the search warrant only authorized a search of his

apartment, 3718 Loyola Drive, Apartment 129. The property was

described in the warrant as “a multi-story apartment complex with

a greenish and purple colored vinyl siding with a green front door

facing easterly. The number 3718 are affixed to the building on

the east side of the building. The front door of the apartment has

a brass doorknocker with the number ‘129’ engraved on it.” Because

the detached garage unit was not included in the warrant, Hankton

contends,     the    officers    exceeded     the   scope     of    the    warrant    by

searching the detached garage.

                                         A.

                                         12
    Case 2:12-cr-00001-DJP-MBN       Document 1271          Filed 03/09/16     Page 13 of 16



        Hankton was on parole at the time of the searches of his

apartment and detached garage. As a condition of his parole,

Hankton’s parole officer was allowed to search, even without a

warrant,        his    person,     property,     or     residence         on     reasonable

suspicion that Hankton was engaged in criminal activity. See La.

R.S. 15:574.4.2 (“The [parole] committee may also require . . .

that the [parolee] conform to any of the following conditions . .

.    searches     of    person,    property,     residence,          or      vehicle,     when

reasonable       suspicion       exists   that    criminal         activity       has     been

engaged in while on parole.”). Hankton admits that he was subject

to this condition.

        The United States Supreme Court has consistently upheld state

statutes that allow a less-than-probable-cause standard to search

a paroloee’s property without a warrant. In United States v.

Knights, 534 U.S. 112 (2001), the Supreme Court upheld a state

statute that allowed warrantless, non-consensual searches of a

probationer’s apartment based on reasonable suspicion that the

probationer       was    engaged     in   criminal      conduct.          In    Knights,       a

condition of the defendant’s probation was that he submit his

“person, property, place of residence, vehicle, personal effects,

to search at anytime, with or without a search warrant, warrant of

arrest     or    reasonable       cause   by    any    probation       officer       or   law

enforcement officer.” Id. at 114. Finding that the probation

condition       significantly       diminished        the     defendant’s        reasonable

                                           13
 Case 2:12-cr-00001-DJP-MBN        Document 1271    Filed 03/09/16    Page 14 of 16



expectation of privacy, the Court balanced the state’s interests

in administering its probation laws against the probationer’s

Fourth Amendment rights. The Court reasoned, “When an officer has

reasonable    suspicion      that    a   probationer     subject     to    a   search

condition    is    engaged    in    criminal    activity,     there       is   enough

likelihood that criminal conduct is occurring that an intrusion on

the probationer’s significantly diminished privacy interests is

reasonable.” Id. at 121.

      The Supreme Court also reached the same conclusion in Griffin

v. Wisconsin, 483 U.S. 868 (1987). In Griffin, the Court held that

a probation officer’s warrantless, non-consensual search of a

probationer’s apartment pursuant to a probation condition did not

violate    the    Fourth   Amendment.      There,    a   Wisconsin        regulation

permitted “any probation officer to search a probationer’s home

without a warrant as along as his supervisor approves and as long

as there are ‘reasonable grounds’ to believe the presence of

contraband—including any item the probationer cannot possess under

the probation conditions.” Id. at 871-72. The probation supervisor

received information from detectives that there may have been guns

in   the   defendant’s     apartment.     The   supervisor,      accompanied       by

another probation officer and three plainclothes policemen, went

to the defendant’s apartment and conducted a warrantless search.

The officers found a handgun in the apartment.



                                         14
 Case 2:12-cr-00001-DJP-MBN         Document 1271          Filed 03/09/16   Page 15 of 16



      The Court in Griffin found that the search did not violate

the Fourth Amendment because it was carried out pursuant to a

regulation (i.e., the state’s probation regulation) that itself

satisfied     the     reasonableness          requirement         under     the    Fourth

Amendment.     The    Court       reasoned,      “A    warrant     requirement       would

interfere to an appreciable degree with the probation system,

setting up a magistrate rather than the probation officer as the

judge    of   how    close    a    supervision         the     probationer     requires.

Moreover, the delay inherent in obtaining a warrant would make it

more difficult for probation officials to respond quickly to

evidence of misconduct.” Id. 876. Accordingly, the High Court

concluded that the search of the probationer’s residence “was

‘reasonable’ within the meaning of the Fourth Amendment because it

was     conducted     pursuant        to     a     valid       regulation      governing

probationers.” Id. at 880. The same reasoning applies here.

      Hankton’s parole condition has no material difference from

those imposed in Knights and Griffin. Che Troquille, Hankton’s

parole officer, testified at the hearing that he accompanied Pratt

and the other officers in executing both the arrest warrant and

the search warrant of Hankton’s apartment. He confirmed that the

money    counting    machine       was     found      in   a   detached     garage   near

Hankton’s apartment. Troquille believed he was exercising his

authority to search the detached garage pursuant to Hankton’s



                                            15
 Case 2:12-cr-00001-DJP-MBN    Document 1271      Filed 03/09/16     Page 16 of 16



parole   condition.   Officer    Troquille’s      authority        to   do   so   is

informed by Knights and Griffin.

       John Matthews’ positive identification of Thomas Hankton as

his shooter gave Officer Troquille ample cause for reasonable

suspicion that Hankton was engaged in criminal activity. Thus,

even   absent   a   search    warrant,    there    were   no       constitutional

violations by searching Hankton’s apartment or detached garage.

       Accordingly, IT IS ORDERED that Thomas Hankton’s motion to

suppress evidence and identifications is DENIED.

                              New Orleans, Louisiana, March 9, 2016


                                   ______________________________
                                        MARTIN L. C. FELDMAN
                                    UNITED STATES DISTRICT JUDGE




                                     16
